Case 5:22-cr-00366-OLG

UNEEED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION

UNITED STATES OF AMERICA §

Plaintiff, §

vs. § No.: SA:22-CR-00366(1)-OLG

§

(1) HOMERO ZAMORANO JR. §

Defendant, §

FORM NOTICE TO:

(A) WAIVE. PERSONA Lemay tavune sr ENTER |

TELECONEERENCE; .

(B) WAIVE MINEMUM.TIME TO TRIAL; AND

(C) CONSENT ‘EO DISPOSELION.OF. FE MISDEMEAN OR OFFENSE BY A

WAIVER OFEERSONAL, APP’ ARRAIGNMENT.AND ENTRY

NOW COMES :Defendant in the above-teferenced:case who, along with his/her undersigned

attomey, hereby. acknowledges the following:

vy- of the: charging document i in:this case.

ing:document or had it read to him/her.

De ndant | riderstands he/she + “has. ‘the - -right to appear personally with his/her
attomey

before.a Judge. for Arraigninent i in open-Court on this accusation. Defendant further understands
that; absent the present.waiver, he/she-will. be. so arraigned i in open Court.

wer

- Defendant, having. conferred. with his/her. attorney in this regard, hereby waives personal
appearance with his/her attorney: at the. arraignment of this case and the reading of the charging
document and, by this instrument, tenders his/her. plea-.of "not guilty”. The defendant understands
that entry by the Court.of said. plea for'defendarit-will conclude the arraignment in this case for
all purposes. Defendant-request the Court accept his/her waiver of appearance and enter a_plea of

"not guilty."

THIS WAIVER FORM MUST BE FILED IN THE CLERK'S OFFICE NO LATER
THAN 5:00 P.M. ON THE DAY BEFORE THE SCHEDULED DATE OF
ARRAIGNMENT. IF A WAIVER FORM IS NOT SUBMITTED BY THAT TIME, THE
DEFENDANT AND DEFENDANT'S ATTORNEY MUST APPEAR FOR THE
ARRAIGNMENT AS SCHEDULED.

STATEMENT BEGARDING CONSENT TO ARRAIGNMENT BY
VIDEO. TELECONFERENCE

The U.S. Magistrate Judge. may conduct arraignment by video teleconference if the
defendant consents. See FED.‘R. CRIM: P. 10(c).
-PLEASE INDICATE YOUR CONSENT OR NON-CONSENT TO AN ARRAIGNMENT
BY VEO TELECONFERENCE BELOW:
I CONSENT TO ARRAIGNMENT BY. VIDEO: TELECONFERENCE

_ LBO.NOT CONSENT TO ARRAIGNMENT BY VIDEO TELECONFERENCE

Date Defendant

Name-of Attorney for Defendant-(Print)

Date Signature of-Attorney for Defendant

NO: RESPONSE OR OMISSION OF THIS PAGE WILL BE INTERPRETED AS AN
INDICATION: THA’ DEFENDANT INTENDS TO CONSENT TO THE
MAGISTRATE JUDGE " CONDUCTING THE ARRAIGNMENT BY VIDEO
TELECONFERENCE.

